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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                 Plaintiff,           )                 4:15CR3078-2
                                      )
           V.                         )
                                      )
PATRICK WIGLEY,                       )                   ORDER
                                      )
                 Defendant.           )
                                      )


      IT IS ORDERED that the defendant’s motion for leave to proceed in forma
pauperis (filing no. 111) is granted.

     DATED this 1st day of March, 2016.

                                     BY THE COURT:

                                     Richard G. Kopf
                                     Senior United States District Judge
